Case 2:05-cr-20139-.]PI\/| Document 25 Filed 08/29/05 Page 1 of 3 Page|D 35

 

IN THE UNITED sTATEs DISTRICT COURT Fuz>a't__. ______D.c.
FOR THE wEsTERN DISTRICT oF TENNESSEE
wESTERN DIvIsION BSAUG 9 AH 521,3
TH(_)ttttStt.Ct)ULD
MU.S.DESTHCTCUH

UNITED sTATES oF AMERICA w/DOFTN,ME}MBS

Plaintiff,

V.

_57&@££€§>£@¢»

Criminal No. §;- § § Ml

(30-Day Continuance)

 

 

 

 

Defendant(s).

VVVVVvVVVVVVV`/WVVVVV

 

CONSENT ORDER ON C'RIMINAL C‘ASE CONTINUANCE
AND EXCLUSION OF 'I‘IME

 

As indicated. by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav. SeDtember 23, 2005, with trial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed in open court
at report date this 26ch day of August, 2005.

This document entered on the docket sheet tn cempli:u= ,
with Ftu|a 55 and/or 32(b} FHCrP on '

Case 2:O5-cr-20139-.]PI\/| Document 25 Filed 08/29/05 Page 2 of 3 Page|D 36

SO ORDERED this 26th day of August, 2005.

Mt‘(l@fl

`JO PHIPPS MCCALLA
TED STA'I`ES DISTRICT JUDGE

"`\

   

 

,o¢‘/’¢:.»--..s c c.~\¢~qVL_

 

 

 

§¢a&»~ /SQ‘/(

4557" 'Z¢-‘»A?"r¢? f

   

  

UNITED sTATE DISTRIC COURT - WETERN D's'TRCT oFTENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:05-CR-20139 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Eugene A. Laurenzi

GODWIN MORRIS LAURENZI & BLOOl\/[FIELD, P.C.
50 N. Front St.

Ste. 800

Memphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

